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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 KEISHA MULFORT,

       Plaintiff,

 v.                                    CASE NO.: 6:24-cv-1118-JSS-EJK

 STATE OF FLORIDA –
 OFFICE OF THE STATE
 ATTORNEY FOR THE
 NINTH JUDICIAL CIRCUIT,
 and ANDREW A. BAIN,
 in his official capacity
 as State Attorney,

       Defendants.

 ______________________/

       PLAINTIFF’S BRIEF ADDRESSING HORNADY V. OUTOKUMPU
         STAINLESS USA, LLC, 118 F. 4th 1367 (11th Cir. 2024)

       The Eleventh Circuit’s decision in Hornady v. Outokumpu Stainless USA,

 LLC, 118 F. 4th 1367 (11th Cir. 2024) clarifies the standard of review that is

 applicable to motions for reconsideration of non-final orders under Fed. R. Civ. P.

 54(b), which is at issue in Defendants’ Motion for Reconsideration of Court’s Order

 Denying Defendants’ Motion for Partial Summary Judgment (Doc. 36).

                Hornady supports denial of Defendants’ motion.

       Hornady reinforces Plaintiff’s position that reconsideration is inappropriate

 under the circumstances here (an administrative error and subsequent oversight
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 by opposing counsel resulting in the failure to include a footnote in Defendants’

 motion for partial summary judgment (See Doc. 36)).

       The facts in Hornady are lengthy but straightforward: After engaging in

 repeated discovery violations, the district court entered default judgment against

 Outokumpu as a sanction. Hornady, 118 F. 4th at 1377. The company sought

 reconsideration of the decision, but the district court denied the motion, and the

 Eleventh Circuit affirmed finding no abuse of discretion. Id. at 1379.

       Acknowledging the lack of uniformity among district courts when ruling on

 motions to reconsider non-final orders, the Eleventh Circuit’s opinion provides

 guidance on the parameters of a district court’s broad discretion when evaluating

 these motions. To start, the plenary power given by Rule 54(b) and the core

 principles surrounding the law-of-the-case doctrine serve as the guidepost. Id. at

 1379-80. If, however, a party meets the specific criteria from Rule 59(e) or 60(b),

 which apply to a final, appealable judgment, or any exceptions to the mandate rule,

 a district court is free to, “and should not hesitate to revisit its prior ruling.” Id. at

 1381. But the failure to satisfy these rules does not preclude a court from deciding

 that reconsideration is proper. Id. Even still, reconsideration of a non-final order

 remains rare and “in most instances district courts should hesitate before revisiting

 their earlier interlocutory orders; important interests of finality, stability, and

 predictability underly that justifiable caution.” Id. at 1380.

       “[A] district court typically would not abuse its discretion when rejecting a

 motion to reconsider an interlocutory order if the movant simply rehashed

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 arguments already considered and rejected.” Id. at 1381. This was the obstacle in

 Hornady—Outokumpu was predominately rehashing arguments the district court

 had considered and rejected. See 118 F. 4th at 1381 (“The district court’s rejection

 of Outokumpu’s unashamed rehash was no abuse of discretion.”).

       Similarly, Defendants’ Motion for Reconsideration falls on this spectrum.

 The Court considered Defendants’ claim that Plaintiff is not an employee under the

 FMLA and ruled that Defendants had not met their burden. Now Defendants want

 to bolster their argument that the Court found lacking. The Eleventh Circuit and

 the Middle District of Florida have rejected related efforts to get a second bite at

 the apple (see cases cited in Plaintiff’s Response in Opposition to Defendants’

 Motion for Reconsideration (Doc. 38)) and Hornady did not overrule the Court’s

 ability to consider the rationale underlying those decisions—which apply with

 equal force here.

                                       Conclusion

       Even under the expansive power inherent in Rule 54(b), Defendants have

 not provided this Court with a compelling reason to extend its discretion to correct

 a party’s errors—especially because it was the Court that apprised Defendants of

 the omission they now seek to correct.




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       Dated this 10th day of February 2025.

                                        Respectfully submitted,




                                        LUIS A. CABASSA
                                        Florida Bar Number: 0053643
                                        STEVEN G. WENZEL
                                        Florida Bar No. 159055
                                        HANNAH E. HORR
                                        Florida Bar Number: 116011
                                        WENZEL FENTON CABASSA, P.A.
                                        1110 N. Florida Avenue, Suite 300
                                        Tampa, Florida 33602
                                        Main Number: 813-224-0431
                                        Direct Dial: (813) 379-2565
                                        Facsimile: 813-229-8712
                                        Email: lcabassa@wfclaw.com
                                        Email: gdesane@wfclaw.com
                                        Attorneys for Plaintiff

                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of February 2025, the foregoing

 was electronically filed with the Clerk of Court via the CM/ECF system which will

 send an electronic notice to all counsel of record.




                                               LUIS A. CABASSA




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